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Daniel J. Sherman
State Bar No. 18241000
SHERMAN & YAQUINTO, L.L.P.
509 N. Montclair Avenue
Dallas, TX 75208-5498
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Attorneys for Trustee
James W. Cunningham

                      IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


IN RE:                                           §
                                                 §
HEARTHWOOD NORTH I,                              §   CASE NO. 12-35375-SGJ-11
ASSOCIATION, INC.,                               §
DEBTOR                                           §
                                                 §
JAMES W. CUNNINGHAM, TRUSTEE                     '
                                                 '
VS.                                              '   ADVERSARY CASE NO: 12-_____
                                                 '
ALLIANT PROPERTIES LLC SERIES E
Et al, as listed on Ex “A”                       '
                   DEFENDANTS                    '

                COMPLAINT BY TRUSTEE TO APPROVE SALE OF THE
                    INTEREST OF CO-OWNERS IN PROPERTY

TO THE HONORABLE STACEY G.C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

         The complaint of James W. Cunningham, trustee, respectfully alleges:

         1.     James W. Cunningham is the Chapter 11 trustee in this case.

         2.     After a year of managing this property Cunningham has concluded that deferred

                maintenance combined with design deficiencies have lead to the economic

                obsolescence for the 7 remaining buildings and the Court has authorized the

                cessation of management services. The trustee believes the unit owners will

                receive maximum value if the property is sold for the value of the land.

         3.     The Court has jurisdiction over this adversary pursuant to 28 U.S.C. '1334, as

                this is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(N)&(O), 11 U.S.C

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             §363(h) and F.R.B.R. 7001(3). Venue properly lies in this judicial district

             pursuant to 28 U.S.C. §1409(a), in that the instant adversary proceeding is related

             to the above-captioned case under title 11 of the United States Code which is still

             pending.

      4.     There are two hundred four (204) condominium units in the Hearthwood North I

             condominium regime.       The debtor owns approximately 19 units which were

             acquired generally from a failure of owners to pay the HOA dues. A list of the

             owners of the 204 units is attached to this complaint as Exhibit “A”. The trustee

             will serve personally each owner of a unit or will obtain a stipulation

             acknowledging receipt of the complaint and consent to a judgment granting the

             relief sought in this complaint.

      5.     §363(h) of the Bankruptcy Code gives the trustee the power to sell both the

             estate’s interest and the interest of any co-owner in property in which the debtor

             has an undivided interest as a tenant in common if

                    A. Partition in kind among the debtor’s units and the other co-owners’

                         units is impracticable;

                    B. Sale of the estate’s undivided interest in such property would realize

                         significantly less for the estate than sale of such property free of the

                         interests of such co-owners;

                    C. The benefit to the estate of a sale of such property free of the interests

                         of the co-owners outweighs the detriment, if any, to such co-owners;

                         and

                    D. The property is not used in the production, transmission, or



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                         distribution, for sale, of electric energy or of natural or synthetic gas

                         for heat, light, or power.

      6.     The Condominium Declaration for this debtor grants the unit owners an undivided

             interest in the Common Elements owned as tenants in common in accordance

             with their respective percentages of ownership. A copy of the Condominium

             Declaration is attached as Exhibit “B” and gives the legal description of the 9.03

             acres of land that comprises the condominium regime.

      7.     The sale of the entire tract of land is the only practicable disposition of the

             interests. Partition in kind among the individual unit owners is impracticable.

      8.     Sale of the undivided interests of the estate’s approximate 15 units would realize

             significantly less for the estate than the sale of such property free of the interests

             of the other 189 co-owners.

      9.     The benefit to the estate of a sale of the estate’s property free of the interests of

             the co-owners outweighs the detriment, if any, to such co-owners.

      10.    This condominium is not involved in the production, transmission, or distribution,

             for sale, of electric energy or of natural or synthetic gas for heat, light, or power.

      FOR THESE REASONS, James W. Cunningham asks this Court to

             •   Authorize him to sell both the estate’s interest and the interest of all co-

                 owners in the 9 acres that comprise the legal description of the Hearthwood

                 North I condominium regime;

             •   Authorize the sale as free and clear of any liens with liens to attach to the

                 proceeds of the respective unit owner’s interest; and

             •   Grant any other relief this Court may deem appropriate.


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       October 4, 2013

                                            /s/ Daniel J. Sherman
                                          Daniel J. Sherman
                                          State Bar No. 18241000
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                                          509 N. Montclair Avenue
                                          Dallas, TX 75208-5498
                                          214/942-5502 Fax: 214/946-7601
                                          ATTORNEY FOR
                                          JAMES W. CUNNINGHAM, TRUSTEE




Exhibit “B”, The Declaration of Condominium for Hearthwood North I, is over 74 pages and has
been provided only to the Court. A copy of Exhibit “B” will be provided to any party that
contacts the trustee’s attorney requesting a copy.




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                                         EXHIBIT A

            Unit #                                Owner

             111     Alliant Properties LLC Series E

             112     House, James Stuart

             113     Mould, Anna

             114     Brisco, Andrew

             115     Dang, Nhan Thi

             116     Sariles, Luis a & Doris E

             121     Alliant Properties LLC Series E

             122     Sharma, J K

             123     Narciso, Jose & Joyce

             124     Flewellen, Andre

             125     Lin, Shou Ju & Huang Shao Huan

             126     Theresa & Edgardo C DeGuia

             131     Gian, Jack J

             132     Matthews, Edward L

             133     Boone, Patrice M

             134     Le Ha

             135     James K Davis & London Shot Wilson

             136     Weber, June E

             211     JPMmorgan Chase Bank

             212     Phillips, Wendell

             213     Le, Ha

             214     Lo, Foong Foong

             215     Hearthwood North I HOA




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                                         EXHIBIT A

            Unit #                                 Owner

             216     Green Extreme Homes CDC

             217     Ticzon, Eugene c

             218     Hearthwood North I Assoc, Inc

             221     Reed, Charles

             222     Reyna, Asencion Ray

             223     Ayub, Ijaz

             224     Hearthwood North I Assoc, Inc

             225     Li, Jin Dong

             226     Li, Jin Rong

             227     Flores, Ferreol

             228     Donald Thompson

             231     Fuentes, Yesenia

             232     Pugh Properties LLC

             233     Cassidy, John A, Trustee

             234     Troupe, Damond

             235     Hearthwood North I Assoc, Inc

             236     Estate of Hyme Schnitzer

             237     Rogers, Brian & Colleen

             238     Rogers, Brian & Colleen

             311     Li, Jin Fan

             312     Rizvi Khalid & Khlzar Rafia

             313     Ali, Dehab

             314     Latif, Khalid




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                                           EXHIBIT A

            Unit #                                  Owner

             315     Le, Duc

             316     Salas, Sergio

             317     Le, Duc Hong

             318     Johnson, Jeffery & Griffin, Robert

             321     Hanggodo, Sentiani

             322     James K Davis & London Wilson, Jr.

             323     Catala, Miguel G.

             324     James K Davis & London Shot Wilson

             325     Luu, Gary

             326     Hearthwood North I Assoc, Inc

             327     Gauthier, Felicia A

             328     Laci, Gezim & Mirjan Laci

             331     Hearthwood North I Assoc., Inc.

             332     Bams Holdings LLC

             333     Kang, Pung Sung & Soon Ja

             334     Nabar, Deodatta

             335     Gray, James H et al

             336     Chang, Chen Ping

             337     HT Solutions Inc

             338     Le, Duc H

             411     Bala, Teferi D.

             412     ABRAMS 412 LLC

             413     DANG, NHUT




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                                        EXHIBIT A

            Unit #                                Owner

             414     CHANG, MING CHE

             415     ADUGNA, DERIB

             416     MATTHEWS, EDWARD L

             417     Realvestors LLC

             418     Hearthwood North I Assoc, Inc

             421     RIZVI, HASSAN

             422     RIZVI, HASSAN

             423     ESTRELLA, MANOLITO & ROSARIO

             424     JUSTINIANI, FLOR P

             425     CALMA, JOHN

             426     Hearthwood North I Assoc, Inc

             427     FOWLES, CRAIG T

             428     HICKMAN, STEVEN C

             431     HUANG, ZHENG

             432     MCCOY, MICHAEL L

             433     Redig, Richard R

             434     MEDINA, GILBERT JR

             435     TANZIE, ANNISHA M

             436     GRIFFIN, HAROLD ROBERT

             437     ANYIKE, GRACE

             438     LESTER, JOHN P

             511     ACOSTA, ELIAS ROBERTO

             512     TSO, JIM & GAHBING




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                                      EXHIBIT A

            Unit #                              Owner

             513     MCCOY, MIKE L

             514     CHOU, SHIRMY

             515     MCCOY, MICHAEL L

             516     Semyon & Boris Olshansky

             517     HOUSE, JAMES STUART

             518     HEBERT, YON YE

             521     KARIMI, PARVIZ

             522     HOUSE, JAMES S

             523     LEE, STEVE B

             524     GONG, XINYI & YEOU DONG

             525     LEE, STEVE B

             526     TEXAS PREMIER REAL ESTATE GROUP LLC

             527     MATTHEWS, EDWARD L

             528     JOHNSEY, DOROTHY N EST OF

             531     JASON CHICUONG & ALICE CHUNMEI HUANG

             532     HUDSON, RENEE

             533     BOTEJU, ANTHONY & BERNARD

             534     CHUNG, HOAI MY

             535     TRAN, HOANG LE

             536     SARGENT, MARY ELLEN

             537     DONG, YEOU &

             538     ADDAJ, NADIA

             611     Hearthwood North I Assoc., Inc




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                                         EXHIBIT A

            Unit #                                Owner

             612     HERNANDEZ, GLORIA

             613     Hamilton, Melba

             614     MORALES, JESUS CARLOS

             615     BOTEJU, BERNARD

             616     A & L ENGINEERING AND CONSULTING INC

             617     Tabije, Estrelita

             618     Williams, Dorothy

             621     WILLIAMS, JERVIS

             622     Yeh, Joseph

             623     Ngo, Van Tuyet

             624     Hearthwoo North HOA

             625     Miguel Hernandez

             626     BONILLA, ROMEO E

             627     EDWARD CM HAN & ZHOU LI QING

             628     ZHANG, XUE LIANG

             631     TSO, JIM &

             632     Hearthwood North I Condo or

                     Prince C. Nwaorgu

             633     Hearthwood North I Assoc, Inc

             634     JEZARI, ARMIN J

             635     NGO, CHIEUANH BUI

             636     Residential Funding Co. LLC % JPMorgan Chase Bank

             637     WEBER, JUNE E




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                                          EXHIBIT A

            Unit #                                 Owner

             638     Wilson, London Jr

             711     Wilson, London Jr

             712     RAMIREZ, RICHMOND

             713     Tran, Lan

             714     MIRASOL, ESTRELLA C

             715     DUONG, LINH KIM

             716     LIU, MEIHSIA

             717     BOTEJU, BERNARD

             718     RIZVI, WAJIHA

             721     RUMBAUGH, CHRISTOPHER L

             722     ZHANG, OU &

             723     KNIGHT, WILLIAM P

             724     Hearthwood North I Assoc, Inc

             725     Burwell, Harold S.

             726     CHANG, MING C

             727     Hearthwood North I Condo

             728     ST CLAIR, ANITA J

             731     Le, Duc

             732     Alliant Properties LLC Series E

             733     Hearthwood North I Assoc, Inc

             734     EMILIA M & ROBERT T JOAQUIN

             735     CHING YI LIN & YUNG CHIEH LIAO

             736     ESPINOSA, ROGELIO




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                                       EXHIBIT A

            Unit #                                 Owner

             737     GONG, XINYI & YEOU DONG

             738     Theresa & Edgardo C DeGuia

             811     BOTEJU, BERNARD

             812     BOKHARI, WAQAR

             813     Bams Holdings LLC

             814     YAN WENHAO & DANNY PHAN

             815     BAXTER, EDMUND F JR

             816     Hearthwood North I Assoc, Inc

             821     BOSTON, P TALMADGE % MARC LUZZATTO

             822     NDABA, HENRY & MARIE NDAYIRAGIJE

             823     BANK OF AMERICA

             824     Peng, Linan

             825     JAMET & ELIZABETH ABDULAI

             826     SAMUEL, MATHEW C

             831     ARAGAW, DEMESSIE

             832     HARRISON, MARTHA SUSAN

             833     ROESCHLEY, LUCAS & SARAH

             834     HOWARD, EVERETT L

             835     Ball, Dora

             836     HOWARD, EVERETT L & CLEO M

             911     Hearthwood North I Assoc., Inc.

             912     Ren Yibo & Dean Liu

             913     Mond, Jeffrey A




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            Unit #                                  Owner

             914     NADBY, NOAM

             915     HAMILTON, AINA ABIMBOLA

             916     Le, Duc

             917     PEDRO J SANCHEZ & HENELY TAVAREZ

             918     NGO CHIEUANH BUI

             921     Veksler, Eugene

             922     Vaughn, Cindy K

             923     Mai, Christopher

             924     Dong, Yeou & Gong, Xinyi

             925     David Wilcox

             926     Portman, Hal

             927     Chang, Ming Che &

             928     Dong, Yeou & Gong, Xinyi

             931     Duna, Orlando M & Jo Ann

             932     972 Abrams LLC

             933     Elpidio & Rubyellen Jambalos

             934     Mond, Jeffrey A

             935     Guan, Hao

             936     Boteju, Anthony & Bernard

             937     Williams, Willie Mae

             938     Hearthwood North I Condo




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